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                                  8                             UNITED STATES DISTRICT COURT
                                  9                                     DISTRICT OF NEVADA
                                 10
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                                      WELLS FARGO BANK, N.A., AS TRUSTEE FOR
                                 11   THE POOLING AND SERVICING AGREEMENT                            Case No.: 3:17-cv-00062-MMD-
                                      DATED AS OF AUGUST 1, 2005 PARK PLACE                          WGC
                                 12   SECURITIES, INC. ASSET-BACKED PASS-
                                      THROUGH CERTIFICATES SERIES 2005-WHQ4,
                                 13                                                                  OMNI FINANCIAL, LLC’S
                                                  Plaintiff,                                         OPPOSITION TO MOTION
                                 14                                                                  FOR SUMMARY JUDGMENT
                                           vs.                                                       OF WELLS FARGO BANK,
                                 15                                                                  N.A., AS TRUSTEE FOR THE
                                      FIRST 100, LLC; BRADLEY L. FOOTE; STEPHEN B.                   POOLING AND SERVICING
                                 16   KEHRES; CANYON HILLS LANDSCAPING                               AGREEMENT DATED AS OF
                                      MAINTENANCE ASSOCIATION, INC.,                                 AUGUST 1, 2005 PARK
                                 17                                                                  PLACE SECURITIES, INC.
                                                  Defendant,                                         ASSET-BACKED PASS-
                                 18                                                                  THROUGH CERTIFICATES
                                                                                                     SERIES 2005-WHQ4
                                 19   BRADLEY L. FOOTE; STEPHEN B. KEHRES,
                                 20               Counterclaimant,
                                 21       vs.
                                 22   WELLS FARGO BANK, N.A., AS TRUSTEE FOR
                                      THE POOLING AND SERVICING AGREEMENT
                                 23   DATED AS OF AUGUST 1, 2005 PARK PLACE
                                      SECURITIES, INC. ASSET-BACKED PASS-
                                 24   THROUGH CERTIFICATES SERIES 2005-WHQ4,
                                 25               Counterdefendant.
                                 26

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                                 28               Defendant Omni Financial, LLC’s Opposition to Motion for Summary Judgment
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                                  1       BRADLEY L. FOOTE; STEPHEN B. KEHRES,
                                  2                    Third Party Plaintiffs,
                                  3       vs.
                                  4       OMNI FINANCIAL, LLC, a California Limited
                                          Liability Company; and COLGAN FINANCIAL
                                  5       GROUP, INC., a Connecticut corporation,
                                  6                    Third Party Defendants.
                                  7

                                  8

                                  9             Defendant Omni Financial, LLC (“Omni”) submits the following Opposition to the
                                 10 Motion for Partial Summary Judgment filed on May 29, 2018 (the “Motion,” or “Mtn.”) [ECF
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                                 11 501].

                                 12                         MEMORANDUM OF POINTS AND AUTHORITIES
                                 13 I.          PRELIMINARY STATEMENT
                                 14             WELLS FARGO BANK, N.A., AS TRUSTEE FOR THE POOLING AND
                                 15 SERVICING AGREEMENT DATED AS OF AUGUST 1, 2005 PARK PLACE SECURITIES,

                                 16 INC. ASSET-BACKED PASS-THROUGH CERTIFICATES SERIES 2005-WHQ4 (“Wells

                                 17 Fargo” or “Plaintiff”) filed a Motion for Summary Judgment on May 29, 2018 [ECF 50] seeking

                                 18 to invalidate a Homeowner’s Association (“HOA”) foreclosure sale. Wells Fargo did not name
                                 19 Omni in its Complaint, but rather, Omni was named as a Third-Party Defendant by Defendants

                                 20 Bradley Foote and Stephen Kehres (collectively “Defendants”). See Third Party Complaint

                                 21 filed on July 26, 2017 [ECF 27]. The sole causes of action asserted against Omni are for Quiet

                                 22 Title and Equitable Mortgage. Id. Omni’s interest in the property is a Deed of Trust which was

                                 23 recorded by Omni to secure a $5,000,000 loan. Id. at ¶14. Although Wells Fargo does not

                                 24 specifically state what parties it seeks a summary judgment against, it is presumed that it seeks

                                 25 to quiet title against all parties and thus this Opposition is respectfully submitted.
                                 26   1
                                          All ECF references are to docket numbers in the above captioned action, unless otherwise noted.
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                                 28                    Defendant Omni Financial, LLC’s Opposition to Motion for Summary Judgment
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                                  1          Plaintiff bases its Motion on essentially four grounds: 1) Plaintiff did not receive notice

                                  2 of the HOA sale; 2) the presence of a mortgage protection clause in the CC&R’s prevented the

                                  3 HOA from asserting and foreclosing a lien which was senior to that of Plaintiff; 3) the super-

                                  4 priority portion of the HOA lien was satisfied; and, 4) Defendants were not bona-fide purchasers

                                  5 such that they should receive protection under Nevada law. As set forth herein, each of these

                                  6 arguments fails. Plaintiff admits that it received notice of the HOA’s intention to foreclose upon

                                  7 its lien, albeit to an address which was different from that which was listed on the publicly

                                  8 recorded document. The issue of the “mortgage protection” clause of the CC&R’s has been

                                  9 expressly addressed by numerous courts and it has been determined that such a clause cannot

                                 10 constitute a waiver of Nevada statutes and therefore does not defeat an HOA foreclosure. There
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                                 11 has been no competent evidence, let alone conclusive evidence, that the super-priority portion of

                                 12 the HOA’s lien was ever satisfied as claimed by Plaintiff, and finally, there is no evidence that

                                 13 the purchaser of the subject property was not a bona fide purchaser as no evidence has been

                                 14 offered demonstrating that any party had knowledge of a superior interest in the property prior

                                 15 to purchase. Accordingly, summary judgment should be denied.

                                 16 II.      STATEMENT OF FACTS

                                 17          The facts, in so far as they are listed in the Motion, are accurate in that they are primarily

                                 18 based upon documents which have been recorded as public records. The contents of the
                                 19 documents are not in dispute, however, what is in dispute is the interpretation of those

                                 20 documents and their legal significance. As set forth herein, the documents relied upon do not

                                 21 support the granting of a summary judgment and accordingly, the Motion should be denied.

                                 22 III.     LAW AND ARGUMENT

                                 23        A. Summary Judgment Standard

                                 24          The standard of summary judgment set forth in the moving papers is correct in so far as it

                                 25 goes, however, the Motion does not address the fact that only admissible evidence may be relied
                                 26

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                                                                                       3
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                                  1 upon by the Court in ruling upon a summary judgment. See Fed. R. Civ. P. 56(e). In addressing

                                  2 this requirement the Ninth Circuit Court of Appeals has stated:

                                  3          A trial court can only consider admissible evidence in ruling on a motion for
                                             summary judgment. See Fed.R.Civ.P. 56(e ); Beyene v. Coleman Sec. Servs.,
                                  4
                                             Inc., 854 F.2d 1179, 1181 (9th Cir.1988). Authentication is a "condition
                                  5          precedent to admissibility," and this condition is satisfied by "evidence sufficient
                                             to support a finding that the matter in question is what its proponent
                                  6          claims." Fed.R.Evid. 901(a). We have repeatedly held that unauthenticated
                                             documents cannot be considered in a motion for summary
                                  7          judgment. See Cristobal v. Siegel, 26 F.3d 1488, 1494 (9th Cir.1994); Hal Roach
                                  8          Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542, 1550-51 (9th
                                             Cir.1989); Beyene, 854 F.2d at 1182; Canada v. Blain's Helicopters, Inc., 831
                                  9          F.2d 920, 925 (9th Cir.1987); Hamilton v. Keystone Tankship Corp., 539 F.2d
                                             684, 686(9th Cir.1976).
                                 10
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                                      Orr v. Bank of Am., NT & SA, 285 F.3d 764, (9th Cir. 2002).          As set forth herein, numerous
                                 11
                                      allegations and conclusions are based upon information which is not admissible, or lack an
                                 12
                                      evidentiary basis. This includes an “expert” opinion of a real estate appraiser which, by its own
                                 13
                                      admission is based upon “extraordinary” assumptions. Such unsupported “assumptions” cannot
                                 14
                                      form the basis of a summary judgment and therefore are properly ignored. Likewise, Plaintiff
                                 15
                                      asserts various “facts” which are supported by nothing more than its subjective belief. Again,
                                 16
                                      such assertions do not form a proper basis upon which to seek summary judgment.
                                 17

                                 18      B. Plaintiff’s Reliance on Bourne Valley is Misplaced and Plaintiff Has Failed to
                                            Demonstrate That the HOA Failed to Provide Adequate Notice of the Lien
                                 19         Foreclosure
                                 20          Plaintiff argues in its Motion that the HOA foreclosure at issue is invalid because Plaintiff
                                 21 did not receive adequate notice of the sale. See Motion, pp. 8 – 9 [ECF 50]. In making this

                                 22 argument, Plaintiff relies upon Bourne Valley Court Trust v. Wells Fargo Bank, N.A., 832 F.3d

                                 23 1154 (9th Cir. 2016). Although Plaintiff argues that the 9th Circuit Court of Appeals ruled that the

                                 24 statute at issued herein, NRS 116.3116(2), was unconstitutional, in reality, only the “opt in”

                                 25 portion of NRS Ch. 116 was ruled unconstitutional. This very issue was addressed in The Bank
                                 26 of N.Y. Mellon v. GR Invs., LLC, 2:16-cv-1959-JCM-CWH (D. Nev. May 25, 2018)(ECF 49):

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                                  1          BNYM has failed to show that Bourne Valley is applicable to its case. Despite
                                             BNYM's erroneous interpretation to the contrary, Bourne Valley did not hold that
                                  2
                                             the entire foreclosure statute was facially unconstitutional. At issue in Bourne
                                  3          Valley was the constitutionality of the "opt-in" provision of NRS Chapter 116, not
                                             the statute in its entirety. Specifically, the Ninth Circuit held that NRS 116.3116 's
                                  4          "opt-in" notice scheme, which required a HOA to alert a mortgage lender that it
                                             intended to foreclose only if the lender had affirmatively requested notice, facially
                                  5          violated mortgage lenders' constitutional due process rights. Bourne Valley, 832
                                  6          F.3d at 1157-58. As identified in Bourne Valley, NRS 116.31163(2) 's "opt-in"
                                             provision unconstitutionally shifted the notice burden to holders of the property
                                  7          interest at risk—not NRS Chapter 116 in general. See id. at 1158.

                                  8 Id. at pp. 14 – 15. Here, Plaintiff does not argue that it did not receive actual notice of the HOA

                                  9 foreclosure. In fact, Plaintiff acknowledges that notice of the foreclosure was provided to it. See

                                 10 Motion, p. 11, lns. 1 – 2; see also Motion, Ex. 5 [ECF 50-5, pp. 11, 21]. The sole argument raised
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                                 11 by Plaintiff is that the notice was mailed to an address in San Francisco as opposed to an address

                                 12 contained in the assignment by which Plaintiff acquired its interest in the real property. See

                                 13 Motion, Ex. 1 [ECF 50-1]. Plaintiff offers no evidence that it did not receive actual notice of the

                                 14 HOA sale or the fact that the notice was provided to it via certified mail. Indeed, it is undisputed

                                 15 Plaintiff did receive notice as a copy of the stamped, certified mail receipt is included in the

                                 16 Motion as Ex. 5 [ECF 50-5, p. 21]. It appears that the Plaintiff is asking the Court to assume that

                                 17 it did not receive “adequate” notice. Absent admissible evidence, however, such an assumption

                                 18 is not warranted.
                                 19          Even if actual notice had not been provided, as noted in The Bank of New York Mellon,

                                 20 “due process does not require actual notice.” Id. at 15, citing Jones v. Flowers, 547 U.S. 220, 226

                                 21 (2006). The Court, therein, further noted:

                                 22           Due process does not require actual notice. Jones v. Flowers, 547 U.S. 220, 226 ,
                                              126 S. Ct. 1708 , 164 L. Ed. 2d 415 (2006). Rather, as set forth above, it requires
                                 23           notice "reasonably calculated, under all the circumstances, to apprise interested
                                 24           parties of the pendency of the action and afford them an opportunity to present
                                              their objections." Mullane v. Central Hanover Bank & Trust Co., 339 U.S.
                                 25           306 , 314 , 70 S. Ct. 652 , 94 L. Ed. 865 (1950); see also Bourne Valley, 832 F.3d
                                              at 1158.
                                 26

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                                              Here, adequate notice was given to the interested parties prior to extinguishing a
                                  1           property right. The HOA has provided proof of mailing for the notice of default
                                              and the notice of foreclosure sale to BNYM and other interested parties. (ECF No.
                                  2
                                              40). As a result, the notice of trustee's sale was sufficient notice to cure any
                                  3           constitutional defect inherent in NRS 116.31163(2), as it put BNYM on notice that
                                              its interest was subject to pendency of action and offered all of the required
                                  4           information.
                                  5 The Bank Of N.Y. Mellon v. GR Invs., LLC, at 11. As Plaintiff has failed to establish that the

                                  6 notice that was undisputedly provided was not reasonably calculated to provide adequate notice,

                                  7 the Motion should be denied.

                                  8
                                         C. Plaintiff Has Failed to Established The Foreclosure Sale Was Commercially
                                  9         Unreasonable.
                                 10
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                                             Plaintiff contends that the sale price for the subject Property at the foreclosure sale was
                                 11
                                      grossly inadequate, and therefore demonstrates that the underlying sale is commercially
                                 12
                                      unreasonable and should be set aside. (See Motion, pp. 17 - 20). As set forth below, the Nevada
                                 13

                                 14 Supreme Court has made it eminently clear that a low price, regardless of whether it is below 20%

                                 15 of “fair market value” is not sufficient in of itself to demonstrate an HOA foreclosure sale was

                                 16 unreasonable. Furthermore, in the context of NRS Ch. 116 quiet title cases, lenders/lienholders

                                 17 such as Plaintiff bears the burden of proving that the underlying sale should be set aside.

                                 18
                                      Nationstar Mortg., LLC v. Saticoy Bay LLC Series 2227 Shadow Canyon, 405 P.3d 641, 646 (Nev.
                                 19
                                      2017) (hereafter, “Shadow Canyon”). A low price, even one that is grossly inadequate must be
                                 20
                                      accompanied by a showing of fraud, oppression, or unfairness:
                                 21

                                 22          However, even assuming that the price was inadequate, that fact standing alone
                                             would not justify setting aside the trustee’s sale. In California, it is a settled rule
                                 23          that inadequacy of price, however gross, is not in itself a sufficient ground for
                                             setting aside a trustee’s sale legally made; there must be in addition proof of some
                                 24          element of fraud, unfairness, or oppression as accounts for and brings about the
                                             inadequacy of price.’ Several earlier California cases are cited. The allegation of
                                 25
                                             value was $25,000 and the testimony as to value was conflicting. The sale price
                                 26          was $5,025. (In approving the rule thus stated, we necessarily reject the dictum in

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                                              Dazet v. Landry, supra, implying that the rule requiring more than mere
                                  1           inadequacy of price will not be applied if ‘the inadequacy be so great as to shock
                                              the conscience.)
                                  2

                                  3 Golden v. Tomiyasu, 79 Nev. 503, 514-15, 387 P.2d 989, 995 (1963) (quoting Oller v. Sonoma

                                  4 County Land Title Co., 137 Cal.App.2d 633, 290 P.2d 880 (1955)), accord Shadow Wood

                                  5 Homeowners Assoc. v. N.Y. CMTY Bancorp, Inc., 366 P.3d 1105, 1111 92016) (“As discussed

                                  6
                                      above, demonstrating that an association sold a property at it’s foreclosure sale for an
                                  7
                                      inadequate price is not enough to set aside that sale; there must also be a showing of fraud,
                                  8
                                      unfairness, or oppression.”); Long v. Towne, 98 Nev. 11, 13, 639 P.2d 528, 530 (1982) (“Mere
                                  9

                                 10 inadequacy of price is not sufficient to justify setting aside a foreclosure sale, absent a showing
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                                 11 of fraud, unfairness or oppression.”). This position has also been reiterated by the Nevada

                                 12 Supreme Court in more recent decisions. See Shadow Canyon, 405 P.3d at 643 (“we clarify that

                                 13 Shadow Wood did not overturn this court's longstanding rule that ‘inadequacy of price, however

                                 14
                                      gross, is not in itself a sufficient ground for setting aside a trustee’s sale’ absent additional
                                 15
                                      ‘proof of some element of fraud, unfairness, or oppression as accounts for and brings about the
                                 16
                                      inadequacy of price’”).
                                 17

                                 18           In support of its position, Plaintiff argues in contravention of Shadow Canyon,

                                 19 contending that Nevada has adopted the Restatement position which arguably calls into question

                                 20 the legitimacy of a foreclosure sale which results in a sales rice which does not exceed 20% of

                                 21
                                      the fair market value of the property. See Motion, p. 18, lns. 23 – 27. This, however, is a
                                 22
                                      misinterpretation of the Court’s decision in Shadow Wood, which did not adopt the Restatement
                                 23
                                      approach. See Shadow Wood, 366 P.3d at 1112-13. This was further expressly clarified in the
                                 24
                                      recent Shadow Canyon decision, in which the Court stated “[t]he citation to the Restatement in
                                 25
                                 26 Shadow Wood cannot reasonably be construed as an implicit adoption of a rule that requires

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                                      invalidating any foreclosure sale with a purchase price less than 20 percent of a property's fair
                                  1
                                      market value.” Shadow Canyon, 405 P.3d at 642 -643. Thus, there can be no question that, in
                                  2

                                  3 Nevada, according to Shadow Wood, the Restatement approach has not been adopted, and

                                  4 inadequate price alone is not sufficient to set aside a foreclosure sale.

                                  5           It must also be noted that no admissible evidence has been offered that would support a
                                  6
                                      showing of fraud, oppression or unfairness. Plaintiff offers only its opinion that the manner in
                                  7
                                      which the property was sold was improper. See Motion, p. 19. The argument regarding the
                                  8
                                      unfairness is not supported by undisputed, factual evidence. Again, Plaintiff asks the Court to
                                  9

                                 10 assume that the manner in which the foreclosure necessarily resulted in a low sales price. In
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                                 11 support of its argument, Plaintiff offers an appraisal of the value of the subject property. See

                                 12 Motion, Ex. 6 [ECF 50-6]. The appraisal, however, far from supporting a motion for summary

                                 13 judgment, establishes questions of fact which warrant denial of the pending motion.

                                 14
                                              The appraisal was conducted in 2017, years after the foreclosure sale. Id. at 1 [ECF 50-
                                 15
                                      6, p. 2]. In the final paragraph of the first page of the report it is noted that the appraisal is
                                 16
                                      based, not upon personal knowledge of the appraiser, but upon assumptions:
                                 17

                                 18           As of the effective date of this appraisal, the subject property is assumed to be in
                                              average condition. We are not aware of any major repairs, renovation, or
                                 19           remodeling that had been done or needed to be done as of the date of value. The
                                              effective age is based on the appraiser’s previous physical drive through the
                                 20           neighborhood and surrounding area in March 2017 as well as from data obtained
                                              from MLS(if available)m, public records as well as other sources. Exterior
                                 21
                                              photographs were obtained from Washoe County Assessor records, Google Maps
                                 22           and MLS if available. An extraordinary assumption is made that the interior is
                                              in similar condition as the exterior and that the condition was similar at the
                                 23           effective date of this appraisal. The use of the extraordinary assumption may
                                              have affected the assignment results.
                                 24

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                                      Id. (emphasis added). Additionally, on page 3 of the report [ECF 50-6, p.4] it is further noted
                                  1
                                      that “This report is also subject to other Hypothetical Conditions and/or Extraordinary
                                  2

                                  3 Assumptions as specified in the attached addenda.” Given the fact that Plaintiff’s own

                                  4 estimations are subject of “extraordinary” assumptions, it cannot be argued that the amount paid

                                  5 at the subject foreclosure sale was not commensurate with market value of the property given all

                                  6
                                      circumstances. See United States v. Cartwright, 411 U.S. 546, 551, 93 S.Ct. 1713, 1716
                                  7
                                      (1973)(“Fair market value” is “the price at which the property would change hands between a
                                  8
                                      willing buyer and a willing seller, neither being under any compulsion to buy or to sell and both
                                  9

                                 10 having reasonable knowledge of relevant facts.”); see also McCarran Int'l Airport v. Sisolak,
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                                 11 122 Nev. 645, 672, 137 P.3d 1110, 1128 (2006)(“[i]n determining fair market value, the trier of

                                 12 fact may consider any elements that fairly enter into the question of value which a reasonable

                                 13 businessman would consider when purchasing.”). Accordingly, questions of fact exist regarding

                                 14
                                      the value of the subject property at the time of the foreclosure sale. No evidence has been
                                 15
                                      offered that there was more than one party interested in purchasing the property and thus, the
                                 16
                                      sales price, although low, may be commensurate with the fact that there was little or no interest
                                 17

                                 18 from the public at large in purchasing the property.
                                 19          Plaintiff has offered a brief argument that the notices provided regarding the foreclosure

                                 20 by the HOA did not contain a breakdown of the amount which constituted a super-priority under

                                 21
                                      Nevada law. See Motion, pp. 10 - 11. Plaintiff points to no authority that such a breakdown
                                 22
                                      need have been included. Likewise, Plaintiff does not address the fact that it apparently took no
                                 23
                                      action despite have received notice of the foreclosure and was thus on notice that its right, if
                                 24
                                      any, could be implicated. A copy of the signed/stamped certified mail receipt is attached as
                                 25
                                 26 Exhibit 5 [ECF 50-5, p. 21] which confirms that Plaintiff was in actual receipt of the notice of

                                 27
                                                                                        9
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                                      foreclosure. This argument fails to provide a basis upon which summary judgment can be
                                  1
                                      granted.
                                  2

                                  3      D. The HOA’s CC&R’s Are Irrelevant to This Matter and Do Not Invalidate the
                                            HOA’s Foreclosure
                                  4
                                            Plaintiff’s next argument is that this Court should conclude that the HOA’s CC&R’s
                                  5

                                  6 subordinated the HOA’s lien priority to Plaintiff’s previously-held deed of trust interest. (See

                                  7 Motion, p. 12). This argument must fail because the plain language of NRS 116 defeats

                                  8 Plaintiff’s argument, as does interpretation of NRS Ch. 116 by the Nevada Supreme Court. The

                                  9 notion that an HOA’s CC&R’s cannot waive the super-priority of the HOA’s lien is set forth in

                                 10
                                      Nevada statutes. NRS 116.1104 specifically states that NRS Ch.116’s “provisions may not be
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                                 11
                                      varied by agreement, and rights conferred by it may not be waived [. . .] Except as expressly
                                 12
                                      provided in” Chapter 116.
                                 13

                                 14         The Nevada Supreme Court clarified that “NRS 116.1104 defeats” the argument that “the

                                 15 mortgage savings clause in [an HOA’s] CC&R’s [can subordinate an HOA’s] super-priority lien

                                 16 to the first deed of trust.” SFR Inv. Pool 1, LLC v. U.S. Bank, 334 P.3d 408, 418-19 (Nev.

                                 17
                                      2014)(reversed on other grounds). Accordingly, the Court concluded that “[t]he mortgages
                                 18
                                      savings clause thus does not affect NRS 116.3116(2)’s application.” Id. at 419. The Nevada
                                 19
                                      Supreme Court affirmed this position in Wilmington Trust, N.A. v. Las Vegas Rental & Repair,
                                 20
                                      LLC Series 69, 408 P.3d 557 (Nev. 2017)(unpublished) in which it determined that absent some
                                 21

                                 22 testimony that bidding as actually chilled by a mortgage protection clause, there was no basis

                                 23 for finding that a sale was commercially unreasonable as a result. No evidence has been

                                 24 submitted that indicates any “chilling” effect on the bidding was present as a result of the

                                 25
                                      “mortgage savings” clause.
                                 26

                                 27
                                                                                       10
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                                            Additionally, as recently noted in The Bank of New York Mellon, supra., more is required
                                  1
                                      than the existence of a “savings clause” to invalidate an HOA foreclosure sale. In addressing
                                  2

                                  3 prior cases, the district court noted that when a savings clause has been used to invalidate a sale

                                  4 it is because the existence of such a clause was coupled with other actions such as misleading

                                  5 mailings. Ironically, Plaintiff relies on ZYZZX2 v. Dizon, 2:13-cv-1307-JCM, 2016 WL

                                  6
                                      1181666 (D. Nev. March 25, 2016)(Mahan, J.) to support its argument that a “mortgage
                                  7
                                      savings” clause, alone, is enough to render a sale invalid. In addressing that very ruling, Judge
                                  8
                                      Mahan, revisited his prior ruling on May 25, 2018 and stated:
                                  9

                                 10          This court’s decision in ZYZZX2 was rendered in light of the combination of a
                                             mortgage protection clause and an HOA’s misleading mailings. See ZYZZX2,
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                                 11          2016 WL 1181666 at *4–5 (“The association sent a letter to Wells Fargo and other
                                             interested parties stating that its foreclosure would not affect the senior
                                 12          lender/mortgage holder’s lien.”). Unlike in ZYZZX2, the events surrounding the
                                             foreclosure sale here make it clear that BNYM was aware that its interest in the
                                 13          property was at risk. See id.; see also (ECF Nos. 40, 44).
                                 14
                                             Moreover, NRS 116.1104 provides that “[e]xcept as expressly provided in this
                                 15          chapter, its provisions may not be varied by agreement, and rights conferred by it
                                             may not be waived.” Nev. Rev. Stat. § 116.1104; see also Bayview Loan Servicing,
                                 16          LLC v. SFR Investments Pool 1, LLC, No. 2:14-CV-1875-JCM-GWF, 2017 WL
                                             1100955, at *9 (D. Nev. Mar. 22, 2017) (discussing the reasoning in ZYZZX2);
                                 17
                                             JPMorgan Chase Bank, N.A. v. SFR Investments Pool 1, LLC, 200 F. Supp. 3d
                                 18          1141, 1168 (D. Nev. 2016) (holding that an HOA’s failure to comply with its
                                             CC&Rs does not set aside a foreclosure sale, due to NRS 116.1104).
                                 19
                                             Accordingly, BNYM’s commercial reasonability argument fails as a matter of law,
                                 20          as it failed to set forth evidence of fraud, unfairness, or oppression. See, e.g.,
                                             Nationstar Mortg., LLC v. SFR Investments Pool 1, LLC, No. 70653, 2017 WL
                                 21
                                             1423938, at *2 n.2 (Nev. App. Apr. 17, 2017) (“Sale price alone, however, is never
                                 22          enough to demonstrate that the sale was commercially unreasonable; rather, the
                                             party challenging the sale must also make a showing of fraud, unfairness, or
                                 23          oppression that brought about the low sale price.”).
                                 24

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                                      The Bank of New York Mellon, 2:16-cv-01959, ECF. 49, p. 14 (emphasis added). There is no
                                  1
                                      allegation that any such combination of acts took place, thus, as a matter of law, the existence of
                                  2

                                  3 a mortgage savings clause, standing alone, is insufficient to set aside the HOA’s foreclosure.

                                  4
                                         E. The Purchasers of the Property at Issue Were “Bona Fide” Purchasers at the Time
                                  5         They Took Possession of the Property
                                  6
                                             “A subsequent purchaser is bona fide under common-law principles if it takes the
                                  7
                                      property ‘for a valuable consideration and without notice of the prior equity, and without notice
                                  8
                                      of facts which upon diligent inquiry would be indicated and from which notice would be
                                  9

                                 10 imputed to him, if he failed to make such inquiry. See Shadow Wood, 366 P.3d at 1115 (citing
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                                 11 Bailey v. Butner, 64 Nev. 1, 19, 176 P.2d 226, 234 (1947)). In Bailey, the Court’s discussion

                                 12 focused on whether the purchaser had knowledge of a superior equity. 64 Nev. at 19 (emphasis

                                 13 added). This holding is consistent with other relevant Nevada law, as well. See, e.g.,

                                 14
                                      Huntington v. Mila, Inc., 75 P.3d 354 (Nev. 2003) (holding that a purchaser is bona fide so long
                                 15
                                      as it does not have notice of a superior interest which survived the sale)(emphasis added). Thus,
                                 16
                                      the court created a two-part conjunctive test for determining bona fide status:
                                 17

                                 18          1) Did the purchaser give value for the property?

                                 19          2) Did the purchaser have notice of a superior interest to the subject property which

                                 20          would have survived the foreclosure sale? Id.
                                 21
                                             Similarly, under NRS Ch. 111, “[a]ny purchaser who purchases an estate or interest in
                                 22
                                      any real property in good faith and for valuable consideration and who does not have actual
                                 23
                                      knowledge, constructive notice of, or reasonable cause to know that there exists a defect in, or
                                 24
                                      adverse rights, title or interest to, the real property is a bona fide purchaser.” NRS 111.180.
                                 25
                                 26 Defendants meet both standards. There is no dispute that Defendants paid valuable

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                                      consideration for the Property. While Plaintiff “might believe that [defendants] purchased the
                                  1
                                      property for an amount lower than the property’s actual worth, that [defendants] paid ‘valuable
                                  2

                                  3 consideration’ cannot be contested. The question is not whether the consideration is adequate,

                                  4 but whether it is valuable.” Shadow Wood, 366 P.3d at 1115 (Internal citations omitted).

                                  5          Thus, the only remaining question is whether Defendants had any notice of a superior
                                  6
                                      interest in the Property when it purchased. The undisputed facts show that they did not. There is
                                  7
                                      no evidence, nor has any party asserted that Defendants had actual knowledge of any defect in
                                  8
                                      the HOA foreclosure sale. Moreover, Defendants could not have discovered the alleged
                                  9

                                 10 impropriety that Plaintiff describes through the most diligent search, as all of the recorded
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                                 11 documents recorded prior to Defendants’ acquisition of title to the Property suggested that the

                                 12 HOA foreclosure sale was free from defect.

                                 13          In particular, despite Defendant’s allegations that the HOA sale included instances of
                                 14
                                      fraud, oppression, or unfairness, there is no indication of that alleged fraud on the face of any of
                                 15
                                      the recorded documents. None of the recorded documents prior to Defendants’ acquisition of
                                 16
                                      their title interest in the Property indicated any defect in the underlying foreclosure sale, which
                                 17

                                 18 would have put Defendants on sufficient notice to preclude their characterization as bona fide
                                 19 purchasers. There is no legal or factual basis to support this argument, and it therefore does not

                                 20 support summary judgment in Plaintiff’s favor. Accordingly, this argument must also be

                                 21
                                      rejected by this Court.
                                 22
                                         F. The “Super-Priority” Portion of the Lien Was Not Paid Prior to the Foreclosure
                                 23
                                             Plaintiff argues that summary judgment is proper because First 100, the purchaser of the
                                 24
                                      property at the time of foreclosure, made payment of the super-priority amount due and owing
                                 25
                                 26 to the HOA. See Motion, p. 9. Despite making such an assertion, Plaintiff admits that no such

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                                                                                        13
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                                      payment was made prior to the foreclosure proceeding taking place. Id. at 10, ln. 5. In fact,
                                  1
                                      Plaintiff only identifies a single payment of $240 allegedly made from First 100 to the HOA.
                                  2

                                  3 See Motion, Ex. 4 [ECF 50-4, p. 8]. Even if one were to assume that this payment was directed

                                  4 to the super-priority portion of the HOA lien, the very document relied upon by Plaintiff

                                  5 demonstrates that a balance nevertheless remains of $435.00. Id. Thus, Plaintiff’s own Motion

                                  6
                                      establishes that the super-priority portion of the HOA lien was not satisfied until after the
                                  7
                                      foreclosure took place.
                                  8
                                             Plaintiff admits that no payment was ever made by any party prior to foreclosure which
                                  9

                                 10 satisfied the super-priority portion of the lien. Instead, Plaintiff claims that the lien was
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                                 11 “discharged by this agreement”, referring to an agreement entered into between First 100 and

                                 12 ULS, the agent responsible for handling the foreclosure sale. See Motion, p. 10. A copy of the

                                 13 referenced agreement is attached as Exhibit 4 [ECF 50-4] to the Motion, however, the

                                 14
                                      agreement does not reference priority amounts being paid off, either by agreement or by actual
                                 15
                                      payment. Accordingly, this argument fails.
                                 16
                                      IV.    CONCLUSION
                                 17

                                 18          For the foregoing reasons, Plaintiff has failed to demonstrate entitlement to summary

                                 19 judgment and therefore it is respectfully submitted that the pending motion be denied.

                                 20
                                                                             Dated this 19th day of June, 2018.
                                 21
                                                                             Howard & Howard Attorneys PLLC
                                 22
                                                                             /s/ Brian J. Pezzillo
                                 23
                                                                             Brian J. Pezzillo, Esq.
                                 24                                          Nevada Bar No. 7136
                                                                             3800 Howard Hughes Parkway, Suite 1000
                                 25                                          Las Vegas, Nevada 89169
                                                                             Attorneys for Third Party Defendant Omni Financial, LLC
                                 26

                                 27
                                                                                        14
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                                  1                                     CERTIFICATE OF SERVICE
                                  2
                                             I hereby certify that I am an employee of Howard & Howard Attorneys PLLC, and that
                                  3
                                      on the 19th day of June, 2018, I caused to be served a true and correct copy of the foregoing OMNI
                                  4

                                  5 FINANCIAL, LLC’S OPPOSITION TO MOTION FOR SUMMARY JUDGMENT OF

                                  6 WELLS FARGO BANK, N.A., AS TRUSTEE FOR THE POOLING AND SERVICING

                                  7 AGREEMENT DATED AS OF AUGUST 1, 2005 PARK PLACE SECURITIES, INC. ASSET-

                                  8 BACKED PASS-THROUGH CERTIFICATES SERIES 2005-WHQ4

                                  9
                                      in the following manner:
                                 10
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                                 11 (ELECTRONIC SERVICE) Pursuant to Fed. R. Civ. P. 5(b)(3) and LR 5-4, the above-referenced

                                 12 document was electronically filed and served upon the parties listed below through the Court’s

                                 13
                                      Case Management and Electronic Case Filing (CM/ECF) system:
                                 14
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                                 24
                                                                                              /s/ Amber Clayton__________
                                 25                                                           HOWARD & HOWARD ATTORNEYS PLLC

                                 26

                                 27
                                                                                        15
                                 28                  Defendant Omni Financial, LLC’s Opposition to Motion for Summary Judgment
